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                                  1                                    UNITED STATES DISTRICT COURT
                                  2                                  NORTHERN DISTRICT OF CALIFORNIA
                                  3

                                  4    CALIFORNIA COALITION FOR WOMEN                    Case No.: 4:23-cv-4155-YGR
                                       PRISONERS, ET AL.,
                                  5                                                      ORDER GRANTING IN PART AND DENYING IN
                                                   Plaintiffs,                           PART ADMINISTRATIVE MOTION
                                  6
                                              v.                                         DKT. NO. 79
                                  7
                                       UNITED STATES OF AMERICA BUREAU OF
                                  8    PRISONS, ET AL.,
                                  9                 Defendants.
                                  10
                                       TO ALL PARTIES AND COUNSEL OF RECORD:
                                  11
                                              Lead Counsel for all parties, the Warden of FCI Dublin and the satellite adjacent camp, and
Northern District of California




                                  12
 United States District Court




                                       an employee(s) of FCI Dublin and the satellite adjacent camp who is (are) most knowledgeable
                                  13
                                       about with the scheduling/implementation of both attorney in-person visitation and the pilot legal
                                  14
                                       phone program are Ordered to Appear Personally in Courtroom One of the United States District
                                  15
                                       Court, Oakland, California, at 8:00 a.m. on Tuesday, January 2, 2024.
                                  16
                                                                                          ***
                                  17
                                              By way of background, on December 12, 2023, the Court scheduled an evidentiary hearing
                                  18
                                       to begin on Wednesday, January 3, 2024. At the time of the scheduling, the parties knew that
                                  19
                                       increased attorney visitation would be required to prepare for the proceedings. The parties were
                                  20
                                       ordered to meet and confer on the topic and Magistrate Judge Alex Tse was appointed to assist.
                                  21
                                              Notwithstanding sufficient time for conferring, the Court is in receipt of a last-minute
                                  22
                                       “Emergency Administrative Motion [for] Increased Attorney Visitation” filed at 11:19 p.m. on
                                  23
                                       Thursday, December 28, 2023, just before the long holiday weekend. (Dkt. No. 79.) On Friday,
                                  24
                                       December 29, 2023 at 4:12 p.m., the federal defendants filed an opposition. (Dkt. No. 80.)
                                  25
                                              While plaintiffs’ motion may have merit, the failure to raise the issue sooner weighs against
                                  26
                                       granting the request, at least for the weekend days. The Court is concerned that by granting the
                                  27
                                       request on Saturday, December 30, 2023, the lack of available staff will have a negative impact on
                                  28
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                                  1    other inmates, including those with families who may have made arrangements to visit on the
                                  2    holiday weekend.
                                  3           Accordingly, and for good cause showing, the Court issues the following Orders:
                                  4
                                              1. To address the issues raised more thoroughly, Lead Counsel for all parties, the Warden
                                  5              of FCI Dublin and the satellite adjacent camp, and an employee(s) of FCI Dublin and
                                                 the satellite adjacent camp who is (are) most knowledgeable about with the scheduling/
                                  6
                                                 implementation of both attorney in-person visitation and the pilot legal phone program
                                  7              are Ordered to Appear Personally in Courtroom One of the United States District
                                                 Court, Oakland, California, at 8:00 a.m. on Tuesday, January 2, 2024. Defendants
                                  8
                                                 shall bring or have readily accessible documentation and logs regarding the availability
                                  9              and use of attorney in-person visitation and pilot legal phone program for the Court’s
                                                 review.
                                  10

                                  11          2. The federal defendants shall permit attorney-client visitation to occur in a private and
                                                 confidential location on Tuesday, January 2, 2024 from 9:00 a.m. to 4:00 p.m.
                                  12
Northern District of California




                                              3. Depending on the outcome of the hearing on January 2, the Court may order additional
 United States District Court




                                  13
                                                 time and may continue the evidentiary hearing to allow for additional preparation. The
                                  14             Court is also evaluating whether to issue an Order to Show Cause why sanctions
                                  15             (evidentiary or otherwise) should not be issued with respect to the allegations of
                                                 retaliation specific to this evidentiary hearing. The United States Attorney for the
                                  16             Northern District of California shall be provided with a courtesy copy of this Order. A
                                  17             request is hereby made for his or his designee’s appearance on Tuesday, January 2,
                                                 2024 given the severity of the allegations.
                                  18

                                  19
                                              4. Defendants are Ordered Not to Transfer any person on the witness lists filed in this
                                                 action until further order of this Court.
                                  20
                                              5. Should defendants agree to the specific relief requested in plaintiffs’ motion as reflected
                                  21
                                                 in Docket No. 79-5, and agree to do so without impacting any general population
                                  22             visitation, defendants shall file a notice on the docket by no later than 6:00 p.m. today.
                                                 If filed, the Court will vacate the hearing on Tuesday morning and will address the
                                  23
                                                 issues of concern in the normal course beginning on Wednesday, January 3, 2024.
                                  24
                                              This terminates Docket No. 79.
                                  25
                                              IT IS SO ORDERED.
                                  26
                                       Date: December 30, 2023                         _______________________________________
                                  27                                                           YVONNE GONZALEZ ROGERS
                                  28                                                      UNITED STATES DISTRICT COURT JUDGE



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